Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Pagelof17 PagelID1
PRISONER’S CIVIL RIGHTS COMPLAINT (Rev. 05/2015)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS

[hdoor ben Chit TDL. CID 1-18 cy-208 C

Place of Confinement

 

CASE NO.
(Clerk will assign the number)

 

Crrica Caller, Had Ie. Te

Defendant’s Name and Address

FNULNU Aegina! Decl i vets
Defendant’s Name awd Address

Loc: Vavis. Honksville, Texas

Defendant’s Name Ind Address
(DO NOT USE “ET AL.”)

 

INSTRUCTIONS - READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACKSIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4, When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “VENUE LIST” is posted in your unit

law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.

Rev. 05/15
 

Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page2of17 PagelD 2
FILING FEE AND IN FORMA PAUPERIS (IFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. \n this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at you prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or a initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from you inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. Ifyou intend to seek in forma pauperis status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief. Failure to file a NOTICE OF THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS: J
YES NO

A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? Y_

B. If your answer to “A” is “yes”, describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit: (aceln l 3, a0 / q

2. Parties to previous lawsuit:

Plaintiff(s) Tay K, f istoohor (), VAL.
/
Defendant(s) Shido. C Tex AS
Court: (If federal, name the district; if state, name the county. f

Cause number: L/44,9~#1095-09> HC Ju, L OVS-bI LCA f Texes

Name of judge to whom case was assigned: ( Meectur

Disposition: (Was the case dismiss ih appealed, still pending?) Dav wp written ady

Approximate date of disposition: ay 4m, aol 4

+

Nnv PY

Rev. 05/15

 
 

Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page3of17 PagelD 3

.. Pious Leveeils Lon’:

C. (i) Tf ufaoi4 , (a) Plunds Tay K. bayce - Uetencdat, Dyakr; TUS-CLO,
BUS dist. Cort, £0. Tex05, Shermon Orv, 4)9:/4-cr- 9, 6) Hon The
Ames L, Mezzont (6) Dismissed, Aggec led ()3/s1 fous
0, (1) 7/a¢/90, (a) Plasnhi f-Tehy K. bn Dye, benclt- Oradr TXS-CLO, (3 é US,

Dist. bart, N.0. Texas, Ameri iv, Aa: /4-tv-016b, 5) Hon, Node
Mary Lov obingon, (6) Dismissed, Appecleel, ("7 97 Moor

E, (i)10/31[9017, (@)Phin iE Thy K. Pyro, Ocha Saves SAbrbelel eb a

(3)US, Dist Gurt, M0. oF Tens, Irth Oy, ) (4). 17] -CV- COdll-0- BA,
(5) Hon. (Mac Lsdrode Sooke Lee Ann heavy (6) bendkag 15) (7) nla

F(ajelsore, 6) Plt Ty K Pye, Wfarchnds-Steghen Sey eb al,

(3), Dist Cart, M0 £ Tous, Abi lene Biv, (UIP tV-OCOPT-BL,
(5) Hon. eg ssdralo od 2k. Scoot Fi ost, (b 6 ) Bach nc , (2) nf

G,() ifo[are la) Phin lif Thy K f yve, (ofornts-flidee] O
Dewitt etal. oe Dist. Cart, mr LTores, Abileae Ov. (4) aa
OC004S- BL 6 Hon. Ma ideale Teche E Sc Free} 6) odin, (9)

H. (M4) 22/9018, f (AP bainbln Tay K foyre, Beycon%s- Scott Hp ve

LL, BUS. Died lat, NO £ Texvs, Abilene Dy. , (4)]:18- ue 200

oe “OL, & Hon shh b, Scott Hrs , le) celina (7) ofa

L (i) \aaafle (8) ein kK. “Nye Darchals: ne aobeld eal,
B)US, Dist lack V0 Tere Inarill Din, (3:1 cv-C0084-0 Bh
(5) Hon, We tale Sock Lee ha Aero, (6 )Panchingy (7) nb

ai Jigholorg, (a)? Plsnki- Ty Ke ay ne , dud -F MV Almanza, clal.,
B\US, Dist, Cart, M.0, AT Jexas, Abs one fy, 4) 1 /€-Cy-COVE- 6L,
(6) thn Mex\shrole Suche E ‘coll Fest (5) Par Sng, (3) afc

(@)

 
 

Case 1:18-cv-00208-BU Document t Fildd Aug) fpage py 7 A>
II. | PLACE OF PRESENT CONFINEMENT: rem Of AL i Ry - CLO
Ill. | EXHAUSTION OF GRIEVANCE PROCEDURES:

Have you exhausted all steps of the institutional grievance procedure? |/ YES no
Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

IV. PARTIES TO THIS SUIT:
A. Name and address of plaintiff: Taby Kelstoghae bayer 41700033, Rebel
Unit, aon) FM. 3500, Abilene Tx" 2%

B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

 

 

 
   

' r ‘ !
Defendant #1: ie E ik -
{\ ’
ee f) /\ o | ~ A074 One - on ~ 995 EX Slo 2 6-5 O

i, describe the act(s) or omission(s) of this defendant which you claimed harmed you.
Li Vad on tov us ins du L uct sfshe
| ‘ | j

Defendant #2: 0

TX FBIG-COI9. Phone (936) 437-219, FAX (936) 937-LIBS.

7
Briefly describe the gcts(s) or omission(s) of this defendant which you claimed harmed you.

lee | lablon of LING De tenn Syfsdell

Defendant #3:
unkran
fn describe the acts(s) or omission(s) of this defendant which you claimed harmed you.
' \
Ag | | nbon br (Arne, de Lady Sys M

    
  
 

 

. L
f j _ i EO HI ¢ [AAA

; t —
Mefendant #4: EAE re VEN 4 pee y SCNCl Wet Lh), | TES Tt)
Merten Unit POEM. 3532, Aoileae PX 710), Phone (25) 548-9035
Briefly describe My act(s) or omission(s) of this defendant which you claimed harmed you.

Lahallaho ku f dhs @ th susdem

J
Defendant #5: Nate H f 14 (| N : LL Lf} yx “1 LN herds N (Ai
lar) E0500, Boilean TX 79601, Phone (335) 49-2285

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
obahiabin Er Using da tat: system

Rev. 05/15

2c

 

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page5of17 PagelID5

Dfeoclant th: Simny & lbbh, Pash lehrcha, TWF CLO, Covet
ald (CES UN M0. Celerant ebb hes Sine ben prob do oo liarokn

at rothe .
° ni ion bor U6 1Na dhe card 4s Lym

Dbonclank 2: ENV Cono, “hy echo LY CLO, beaten
nt, | Re FN. 73548 Ay, ene, 1x (
haliablon fe r 51g dhe va ror HS WM

terdant #¢: FAY Alaa fen 7c perry, Current (CES
LNkKNown. enchant fl WWN24 5A ben yom Jel ° ed Wa

ab. a aa
i Kes) Ne aul Syseein |
Oceendnf #9: abe Boyer ef Then scot, Idbeclon Unit |207/

eo ein Adil wes
jo) Sisk
Dberdank HIC Dobondank HC: shi lan LL ra thant, Capt pte, TOLEDO: Nel Unit

(ao) ea 3592 Abilene, TX 70
Rebel ier Cf L6mM da (att SKK hyn
belenhnt tll " Gon she CO, ar Rbelen Lit /907/

Bh 3509 iy ° TX To)
fe er] fro Ne cor! OG: bm

ni) hang el, 20, reeec1O, Penn Uh [707 |

Fh. 3509, Mhilere a TO
fol bal \ dif fer veins Ae ‘ath Sys bm

Dberchent #2 Schn Saheon, Lt, HUECIO Abra Lyt, [eet
FM. 35a, My tlere., TX TbO|

e. Reboll. in CF using Ae cour} ON vse
aa 4: 8. Brett Shp a Sl rc Ndurtty, recs: Cx, ab hes

o ble

  

  

 

 

 
 

Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page6of17 PagelID 6

Dibradontt HM (Cat
el aah laNion rl U5 de la} ssh __

Dedent #ISLP, Oprell yi O,, WTF CIO, hehe} Lif boa El
358A, Ab; Ton TX

« the}a| fi den (i she dhe Va card Ssh
dl Nl Vasque, ‘, Q. Ter -CT0, Dobedlan Unit [207] Fil th,

bles Cr las He at S15kM

sey [7 Jessie Sine Sigh, Vsychic He TC CLUPTTONSL: CMHC,
Nebr Oh Dit. 307) M322, Ail bie, TX 7460)

Nete| lablan i os ing. de ral 5
Debndua 19 FU Goce i CO. tert dk clarke Ty on /3)els)
Dos-frD, Poberlecn. hit, 207. F 3592, Dhilete, TX 7%0!

ro Ita hen fer slag dhe Lath: IG Mm oie
Oofondant #419! Sams S.Aterl eld, Menta) H el Menge TOCS-LEOfTTURSL-C
MHC, Clomenls Unit, 9601 Spur 591, Amvrille, TX 72107

-Re}mbiotion ler USN, Ye cour} sy isdem
letencan}- FRO: Tason fl. Hache, (Me. i, ocr -CIN, Clemer)s thif, a
30 r 59] , Artoe! Ilo, _f Tx '79/) OT
ot Dodo leak den Ex sine He ca? | Sfatem
Madand #21" FU. boace¥, Pychiedets/ (CML), TUCK: Caaf TULA
Clonal sity Ol Spe So], Amecilhs, TX 79107
Reba lioltien fer uslas. dhe tal. syohin
Ofordand Hg: FUL_Mz /goyen, bey (by chi'cdelcé(Cmz) ocr CagfrroMst-cmi
Clemens hi 7601 Spr 59, Arno h Ib TX Mop

Adal liz fo) Lr xl (ag, Mee cai! syscem |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: () b)
 

Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page 7of17 PagelD7

    

f ‘Demon ( Abend, Ne), ubrchn TU) -CLO,
Cb ie) pu 59!, Arocily TX 9907
aliolion ber Uplns “De rat. sesh
Oeovlea) U. Ooerell K ‘ch, hd. Warden | TUT-CL0, C Clams
Unit #pol he 91, fn ale 7x 107 |
Ney /on le vein Nhe Cad 5pch yn
wo A25, Keun 1) jp % bb dha, WE CLD, Clomuds
Unity i el ee 59! aie, 0 TX TOT
ler ose he teu J yok
Fondant #863 Toni Deer, PA. roeT-CLOTTUMSC-LMAL, fcbetdeon
Ui}, dom Enh, SSRA Aylbre , TK 7200]
Ley lel len kr usta de tarl SPM

Oe 37 UL ee 7 —-
xt. (STA

  

   

   

b@)

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page8of17 PagelD 8
V. STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,

when did it happen, and who was involved. Describe how each defendant is involved. You need not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number

and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY

STRIKE “ol COMPLAINT.

his J ISG clam Dhod my claht b he he bom rebobladblan br ushaa te
Lat} siélem LMWGS vioakA ea Lhe Kei lege: gal ec lt DD clue
of Aa le EV of ay US, loasbifuhicn phe Fest Manca Kk dion LIne
A eV US. LN) I a Yay “) thf MN} nuont bie b, US:
he Aad be Fou zal sept Ec ol
{} Ww Keo D5. 1OHZSL. Y He US. She Vp-lof} f) he dt ZS
NPs complal : host Jl aAlattN$. ALI LRM TL iioladecd npcbded
wil of the f / ides Hed, biehabi iencion
ft ANU ne He facricons tbh L Nb Lal tA LG 2 bisepneggnal 38
ts) on Ir on gs 8 @
VI. RELIEF:

State briefly exactly what you want the court to do for you. Make no legal eal A no cases or
statutes.

tl imlneay in unc Lop [she ted at entlol chlag), Maclay aac Madalcy —

VU. GENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever used or been known by including any and all aliases.

    

     

+

 

LVAING
}

B. List all TDCJ-CID identificaiton numbers you have ever been assigned and all other state or federal
prison or FBI numbers ever assigned to you.

[73tn33

VUI. SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES Y NO

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

1. Court that imposed sanctions (if federal, give the district and division):

 

2. Case number:

 

3. Approximate date sanctions were imposed:

4. Have the sanctions been lifted or otherwise satisfied? YES NO

cd . Rev. 05/15

 

6
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page9of17 PagelID9

Op 6:1 fet ih ch also plolech m US, Loase, bp ienel pisht do
f; reackm of rel (2. Las/; ly, Myr iM ‘hho f Castle sucl onlshment WKS violobel
Exch oF He Honda Ott hein sed f in deir hachivichal ed

fetal cape yi 1). dhi's COMPA bat

ite 0 tee tee panel Cedkral lawssvids is AS blew:
(1) Payne ooltekie Prb a17-ty-COa) |-0- BA Anec' | I Dv,

(a) Vooyne v Se terField, etal No 3:1%-cv- C084 -0-6f,, neil Div.
Paycur, Sperry, etal, Mo. lRocurcocn7-BL, Moller. Dv,
re | ‘fetal, No.1 Ld/-cy- CONF - BL “MJene Dy
Ipldn en Wh.) cv-CO63-BL, Mylo Dy
ee Manze, ebal No. 18x COITS-BL-, Merleee Dv

@ | ik (|| dof, whey | wns 4h ges he Mal Ort ) ctenge
* ee ch and) 1 fur ) n sect pat WAS bantered b He poe Nha

tric. werd af Wh Molieol nailer! bate an admitted “f ” pie / cana recd
ek rl ep He la He t were 0
Off Feel epha 5 ie hors") heres 0 ee any lire in fie
5 ich: wards hacl LéIN OTS at Phe Neal Unt. research)
Ho | i550 ancl on ais TOOT '§ OF pole y WAS Aye
nga eat psychic bic bends Ughell’ uw jucess > dhe OTs. | ashecl
“ce ond bund at dhat de pushe. comp ancl ape fri We

+ Mote heal OTS plones ancl nd Ae Avy were ra avai J

aed: oats. | ii Keacyeroeh Had OLS plenes Were Aya) Le -b neil A iy
peh! en 3 ad dhe psychiodl C le niks Jasler 4 anel ki yew, | bike c
@° nde y ee Whe Jove to vans ho. | den filha

on laint ah dhe Offve Far Lvil fAishls Off lee Aathe Kagan
tb the VS thoatnl & Teshlee.

 

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page10o0f17 PagelD 10

 

FeLi be Malad BF Fr hele deg

 

 

 

psychic: cls De. felled 4 th sgl 4C5 hf | oingwily
alm ep hy Bot Fal J bb yeh Wade) MAT. ROG aM te Cbnonls
Unt famed l hone My Ally 1 he a mx") ' Wr hcl are! Wes benibiedl

 

ort, the Acero IS_10 dhe Cbments Lhils IK bey. (ia bly, at all Tex.
les of dis 4 ype-uere endlee] " ly coli tte sith sick axle} y cells chesyed
br A benches | i He fe nt br. cds athe i sagas fen)
re a Fea cys vt lack! iy boca Shel | hey heed Nn
(OL becuse airs ond mold hel} hs ia enpbilud Db
hs gags WAS bg "pede" AE if) Whe Ah ws ye. SMe
skh el shay as lie L ‘atl fem mer 5 have! His
Wa Sy heal Ae e peliles Mme Yen 0 oda bl
hey il CL CC ae Th de / WAS < ff C iol [ cleo a _
5 Cuaperal be “oule ln Level a [G2 / Sd Faroed | Tacleo.3- (3
| WAS conflaes } Td) (hf cell, (Left. i. de LINE Coy pial
| hues A Ir V/ ie ia ayprosinelel {90 maths, Nbtos J vl ne Jpn
EX, plane has lolol. NS 4 my tw / rch & one! Ws ness
Wi itv Vio polees of adnan encbes. Nn ly Comp hiad wiph ae
na th Dash! Nee Wes. A j Af athit and | ‘aie freriaedh

Ie ie h repels F eee. V; pbheos Taucrels He onl cf My Hae
fe

secflay pen byeoph hi ‘abled, fi Ney at Aid §
9. 8 help EG Mp Lelogl oll alco
| on hy obec grt WEL ran ‘Iba WE A Lt, |
I. o Lat ht ohh 1s ay ae bing Mscherged by bo

| alec! / if dchegd) hon Je An (yoo, 7 [tee Dns. Was
(ue a dinech heU, id fy / cemplalat b& Se US. Dot £odhe.
aod all de. ga eyhyces hat | | Fife ch ih! le rare because | | adhnandébucl

 

 

 

 

 

 

 

 

 

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page11of17 PagelD 11

Zp US a pid Li fi A 4 cel | bwsol

AX heel cles in he /-

who were peel i clea eile 9 G2, mere ol

466/zptch dp Ne Comends Lpif snd “nm bly Yq $b

ls cgnmen|y Kran as He ps cn billig. luhy ws Ws ro

One ber me’

| Why | | foacrech Dhel. | hel fa pond pd Ihdyrben bhi},
Wes 16 dally Aigf, ancl exireme NV 4 aprehersie / wes
sang & pales Dod ellerds wer ng Sait “be

my. / WAS elke Wy Huns b from m1 7 , plan Yering i al

© fils in dee grlerras jh 1 wes pei dy
FM che

[ato ne pee iy and WES np ea ‘ Mel / Nees
Ond hi fy eeege b to bay pre ME Ind Wor
ond i This Ll bet Abyh tor WD ais)
y ts a dicply i ry he} fects Ain.
We fe 4 even chow ae (ELI & CARE
Pe ei ap Ab ji LY OF es) hEVvEL kekre ben puchrcedl bhw

cd mere. cltecpll a aes brig my Hire

; s when ‘ie ‘Since ve oly oh) Nken | hedl pis Jy ally

paw ter i enire + in Lm yy incereyay ia te py2oH) nde
| hee op eee fete Hl c “ins ch y my Lei 4 By

be SS Many, 1 a Li Va nt all.

han al wid mu jen eh fe ry! Li fae , Dy Aen

@ adh ave “renseled" dom bes/: hf m A Shy. Moe fle
Peel ML CSC Celery pe AHME Were by 4 panud ¢ utr

In one ot my | PUSAN ES 5 Legh Mleecher, des: fe Ne fac oh,

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page12o0f17 PagelD 12

 

np 54 aad Vieboly all fe de de “eJolinenf a
ik,

weleecd ye. con be_paeven. db be. f, Oils

tp a icelte, | filly belne Jef 2 4 pokey an

cup jon + dus UN : ol adinbnt tad, HON). ca Libeed th
Oy Ielak in Mndsul le. oe kh fay » ny aed oly and vesboadiall

HESS tHe lames populabien _ Si for Asc yp LEY |
AL ‘Ch los, this {4 heave Gh ue OS. aah 4d 5 betray ee
tequice Mare “hfe nd Ih S/Ul v7) VA LF LYES? pes qe.

fi und lag thad TOLD. ‘Mic lals LL, Phy (eq [NG ‘b ZIM Ne

TEX S oovecniend. one Me Cadre! gevecanut, Thés polis fof

a being carded fr de Aireeblon of Ne. bers

who can cowrtly eeallale ag gala gd me, All de de clbendighe frau
ol | by de ddne. (a answer do dhe Ske | ) ac Shp A appeal Lome

hack. Ack de LO%E. cide apadocred or nol, L will howe. alidy.

complled dle. poatchnens innowcl Ly ts. kde / Wey, CE? dhe fy
nas?- cence AL CiAN, hea la dy dp spose py ge scl 25 a

Sdep / Apel: hermadl A bine Ms. 2. EG Lusch:

(a) Ig), id LIE. of veh a Hor ful las) dk / brea.
OLED sey aloe Dre " lop ’ gel My. fisych. (23 ccpiny ‘
fbi fied iA SE be bo. 2 1] Uh ah when / UD

Kenchr in dine ard spoe March wns of Je
one yeHplec his Micky The We Syel Wis ‘ud 4 hb gle
b apse Wal he Got Me f rect gilt wr dL Ayokyed Wt

| ioserd dhe) de co. Cover pelalakry. cMherls LLC Nvecd Vy
Mond inne peacac Lubhls. fle se LYS

relaled - > dhe aleve
mi iP. cbpras. ace clio bed Lom) Lint with Ae
VEOOT. heewse_| was. igh bem de CUL Vi

 

 

 

 

 

 

 

 

 

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page13o0f17 PagelD 13

@,,)), He dierdnds jes Hof the. canphird ueu)A become
Meat 28 A mae A) fre ea ‘al. the US DOT. tw lager
had ¥ rks Jickin 1G Hy ef have exacer lapel
my altacly Frogole nol i hk, | abemphd ati asa)
ang He pane. f A 0S | JEW: / Wt seecunbyd far [ne
by smog | /aese ments FID /s ce) Pr soo
de ips tS fe iN Urry bor L Py e5, Wye arent
Lanro} (peasy if beh SIN wl 1) h v ed Oo Ami fy NUL),
This vy shod clone Ene tale public op Ne, rma
eng hy persena 120 a dye 4 Def Phe [acd Wed

K
Wt ir me ong, cg ani 20 bins suelo ny bis penige
Sth Tape ey re. |e a dda) ly ep
oh sy CUE frenily / An hing 5% Ace ms oe
be Seon 4 le One pony 2 3 des LN Ie Tai") femp:
in any egg le in dhe mean He a. bes sorhass/, Y el
aM lash fe Hf cise Aw she oy i Pd
EGY A hap ot 4 lol k my mrrhers, We bes eat:
Ae Wk! es he
LOGS, Recently if m hue (sect
fant at f my coll Avi yee if. of A an

qh
hon a by, 4 pan “hesgh Veal ag bree brom Neze pel: hhdey
fe WAL fee he ie Ie vo
coup /ag pebh clan ant? weg
fe ine ld bf 4 }) ie cheat A fread Gf rerwee
@! |: ) lec} ene week we by oa Airy MY Meh co Mins. /
reasserkd in a Sp d hed Ne “a open

;

‘n Claim nog y 9 5 G spore

 

legal cceweneat one! hie revug Lr GNA |

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page14o0f17 PagelD 14

 

dy eons. Neve segpeceel ;

 

| am pages ie rad any woHlan fer dransber to Payne. v oe
Alen 2h plio he nanstebeeel in Ake achign. _

 

n

LAM doaarding 4. jury) dela [ Of} al! [Koyp0S n Di alin

 

/ an_a [ D reed 1G apeblron!- ob cespsel 0 Pus fp

Meo See ottloched "ical. A -
f ly MUL -Sé hyn} Heel /
_-

C A LK, Pp 1 7AeB3

|
oO Hdl, (LO). be

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page15o0f17 PagelD 15
. Has any court ever warned or notified you that sanctions could be imposed? YES Y NO

D. If your answer is “yes,” give the following information for every lawsuit in which a warning was issued.
(If more than one, use another piece of paper and answer the same questions.)

1. Court that issued warning (if federal, give the district and division):

 

2. Case number:

 

3. Approximate date warning was issued:

Executed on: [Affe 20, LLE_=-__
Z7fby K Ley H! TMb23

Signature’ of Plaintiff)

PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

2. Lunderstand, if I am released or transferred, it is my responsibility to keep the court informed of my

current mailing address and failure to do so may result in the dismissal of this lawsuit.

I understand I must exhaust all available administrative remedies prior to filing this lawsuit.

4. Iunderstand I am prohibited from brining an in forma pauperis lawsuit if | have brought three or more
civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
imminent danger of serious physical injury.

5. [understand even if1 am allowed to proceed without prepayment of costs, Iam responsible for the entire
filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

Signed this / a M day of December , 20 / v

(Day) (month) (year

ww

   
 
  

 

 

by Is yo! !79223

/ (Signature of Plaintiff)

WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.

iY Rev. 5/15
  

Case 1:18-cv-00208-BU Document 1 Filed 12/19/18 Pape téneix—
@ iiifeor

” nu Cl ft te Cort eee tes
Plase decke} re enclovel conglinh ‘nt Ll Hecho

dheeoms. He attacec deeemends Ct Zech yemberect A i)

dle lau tf he CONC. i. lane wih ) lagol cls
lL. Apolog ie db he cate LEE h hiv, reed! My hehe
Scracen oF A | birdy polo 20. ge te wet! bor hh Ly)
Wb ri of | andl hick Or ‘ached figes. My covcegprire
Sap J, a exhepely hte,
1, Pls Ale (10 die iM M/S 4 deoren? Hcy las:
ey Wohi £ rehbd wes
(a) ne thet mob lon for dranster i'n lays i Alnanzeo alee
© he comsiclrrecl in Als achin _
ft Denondl fo jury via |
(4) faques} for egpelodman F cansel

Racpeco I/

 

   
 

His (2, i i 740033

/307/ Fin eas
Abikere ; TX, 70]

._ Fras Mo se

 

 
Case 1:18-cv-00208-BU Document1 Filed 12/19/18 Page17of17 PagelD 17

 

*ujeBe - o[9A204 aseajd *2]sUM JauuNsuod-3s0d Woy Spely Ss} SAOJBAUA SIYL ¢ 5
“a,

j

Se rs

 

PRIORITY’!
* MAIL *

(f:] DATE OF DELIVERY SPECIFIED*

 

aaEae Retail

 

US POSTAGE PAID

$0.00 Origin: 79601

 

 

12he/8
PRIORITY MAIL 2-Day ©

 

4800170604-6
4 Lb 3.20 O2

1006

EXPECTED DELIVERY DAY: 12/21/18

B010

SHIP
TO:
PO BOX 1218
ABILENE TX 79604-1218

 

_

USPS TRACKING NUMBER

lh i

 

9505 5116 5739 8352 1885 28

 

 

3

Fo
feby 4s Fa
1209) ¢- : ve BSAA

AW Jere, T* 7960!

‘\ Clerk
y f hishicd (att
orthen Vierict & Te
gore (ox al i one
Ab) leae,T.

         

VISIT US AT USPS.COM®

ORDER FREE SUPPLIES ONLINE

 

=y UNITED STATES
B POSTAL SERVICE.

 

         

 

mene teed

jority Mail® shipments. Misuse may be a

ided solely for use in sending Pri

This packaging is the property of the U.S. Postal Service® and Is prov

 

 
